          Case 22-33553 Document 98 Filed in TXSB on 01/19/23 Page 1 of 4




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                          §    Case No. 22-33553
                                                §
ALEXANDER E. JONES                              §    (Chapter 11)
                                                §
         Debtor.                                §    JUDGE CHRISTOPHER M. LOPEZ
                                                §

 ORDER GRANTING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
   THE RETENTION AND EMPLOYMENT OF CROWE & DUNLEVY, P.C. AS
     DEBTOR’S CO-COUNSEL EFFECTIVE AS OF THE PETITION DATE

         ON THIS DATE this Court considered the application (the “Application”) of Alexander

E. Jones (“Debtor”) in the above-captioned Chapter 11 case (the “Chapter 11 Case”) for the entry

of an order authorizing Debtor to retain and employ Crowe & Dunlevy, P.C. (“C&D”) as his

bankruptcy co-counsel, effective as of the Petition Date, pursuant to Sections 105(a), 327(a), 329,

330 331, 1107, and 1108 of Title 11 of the United States Code (the “Bankruptcy Code”), Rules

2014 and 2016 of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), and rules

2014-1 and 9013-1 of the Local Bankruptcy Rules for the Southern District of Texas (each a

“LBR”). Upon review of the Application and the Declaration of Vickie L. Driver (the “Driver

Declaration”) and upon consideration of the statements made in support of the Application at a

hearing held before the Court (the “Hearing”), the Court finds that it has jurisdiction over this

matter pursuant to 28 U.S.C.

§ 1334; that the Application is a core proceeding pursuant to 28 U.S.C. § 157(b); that the venue

of this proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; that based on the representations made in the Application and in the Driver Declaration,

C&D’s employment is in the best interests of Debtor’s estate and C&D (a) is a “disinterested

person” within the meaning of Section 101(14) of the Bankruptcy Code, and (b) C&D does not


ORDER APPROVING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION
AND EMPLOYMENT OF CROWE & DUNLEVY, P.C. AS DEBTOR’S CO-COUNSEL - Page 1
            Case 22-33553 Document 98 Filed in TXSB on 01/19/23 Page 2 of 4




represent or hold an interest adverse to Debtor’s estate; that Debtor provided adequate and

appropriate notice of the Application under the circumstances and that no other or further notice

is required; that the legal and factual bases set forth in the Application and at the Hearing

established just cause for the relief granted in this Order.

Accordingly, IT IS HEREBY ORDERED THAT:

           1.       The Application is GRANTED to the extent set forth herein.

           2.       Debtor is authorized to retain and employ C&D as his primary bankruptcy counsel,

effective as of the Petition Date.

           3.       C&D shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with this Chapter 11 Case1 in compliance with

Sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules,

Local Rules, and any other applicable procedures and orders of the Court. To the extent applicable,

C&D shall also make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures in connection with interim and final fee applications to be

filed by C&D in this Chapter 11 Case.

           4.       To the extent that C&D uses the services of contract attorneys in this Chapter 11

Case, C&D (i) shall pass-through the cost of such contract attorneys to Debtor at the same rate that

C&D pays the contract attorneys; (ii) shall seek reimbursement for actual out-of-pocket expenses

only; and (iii) shall ensure that the contract attorneys are subject to the same conflict checks and

disclosures as required of C&D by Bankruptcy Rule 2014.

           5.       Prior to any increase in C&D rates for any individual employed by C&D and

providing services in this Chapter 11 Case, C&D shall file a supplemental declaration with the



1
    Any capitalized terms not defined herein shall have the meanings ascribed to them in the Application.

ORDER APPROVING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION
AND EMPLOYMENT OF CROWE & DUNLEVY, P.C. AS DEBTOR’S CO-COUNSEL - Page 2
          Case 22-33553 Document 98 Filed in TXSB on 01/19/23 Page 3 of 4




Court and provide ten business days’ notice to Debtor, the United States Trustee, Counsel for the

Official Committee of Unsecured Creditors, Counsel to the Connecticut Plaintiffs, and Counsel to

the Texas Plaintiffs.2 The supplemental declaration shall explain the basis for the requested rate

increases in accordance with Bankruptcy Code section 330(a)(3)(F) and state whether Debtor has

consented to the rate increase. The U.S. Trustee retains all rights to object to any rate increase on

all grounds, including the reasonableness standard set forth in Bankruptcy Code section 330, and

the Court retains the right to review any rate increase pursuant to Bankruptcy Code section 330.

         6.      C&D shall use its reasonable efforts to avoid any duplication of services provided

by any of Debtor’s other retained professionals in this Chapter 11 Case.

         7.      To the extent the Application, Driver Declaration, or any engagement letter

between Debtor and C&D is inconsistent with this Order, the terms of this Order shall govern

during the pendency of this Chapter 11 Case.

         8.      At the conclusion of this case or of C&D’s engagement by Debtor in this Chapter

11 Case, if the amount of any retainer held by C&D is in excess of the amount of C&D’s

outstanding and Court-approved fees, expenses, and costs, C&D will return to the Debtor the

amount by which any such retainer exceeds such Court-approved approved fees, expenses, and

costs.

         9.      Debtor and C&D are each authorized to take all actions necessary to effectuate the

relief granted pursuant to the Order.

         10.     Notice of the Application provided by Debtor is deemed to be good and sufficient

notice of the Application, and the requirements of the Local Rules are satisfied by the contents of

the Application.


2
  As such Notice Parties are defined in the Order Granting Motion for Entry of an Order Establishing Procedures
for Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals.

ORDER APPROVING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION
AND EMPLOYMENT OF CROWE & DUNLEVY, P.C. AS DEBTOR’S CO-COUNSEL - Page 3
        Case 22-33553 Document 98 Filed in TXSB on 01/19/23 Page 4 of 4




       11.     Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order shall be immediately effective and enforceable upon its entry.

       12.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

       Dated: ___________, 2023              _______________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




ORDER APPROVING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION
AND EMPLOYMENT OF CROWE & DUNLEVY, P.C. AS DEBTOR’S CO-COUNSEL - Page 4
